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                      United States Court of Appeals
                                       For the First Circuit
                                           ____________________

                                        DOCKETING STATEMENT

       No.                           Short Title:


      Type of Action

                 Civil
                 Criminal/Prisoner
                 Cross Appeal

      A. Timeliness of Appeal
         1. Date of entry of judgment or order appealed from_________________________________
         2. Date this notice of appeal filed________________________________________________
            If cross appeal, date first notice of appeal filed___________________________________
         3. Filing date of any post-judgment motion filed by any party which tolls time under Fed. R.
            App. P. 4(a)(4) or 4(b)______________________________________________________
         4. Date of entry of order deciding above post-judgment motion________________________
         5. Filing date of any motion to extend time under Fed. R. App. P. 4(a)(5), 4(a)(6) or
            4(b)_____________________________________________________________________
            Time extended to__________________________________________________________

      B. Finality of Order or Judgment
         1. Is the order or judgment appealed from a final decision on the merits?      Yes          No
         2. If no,
            a. Did the district court order entry of judgment as to fewer than all claims or all parties
                 pursuant to Fed. R. C. P. 54(b)?     Yes         No
                 If yes, explain__________________________________________________________
            b. Is the order appealed from a collateral or interlocutory order reviewable under any
                 exception to the finality rule?   Yes          No
                 If yes, explain__________________________________________________________

      C. Has this case previously been appealed? Yes    No
         If yes, give the case name, docket number and disposition of each prior appeal
         ___________________________________________________________________________

      D. Are any related cases or cases raising related issues pending in this court, any district court of
         this circuit, or the Supreme Court?      Yes          No
         If yes, cite the case and manner in which it is related on a separate page. If abeyance or
         consolidation is warranted, counsel must file a separate motion seeking such relief.
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      E. Were there any in-court proceedings below?                    Yes        No
         If yes, is a transcript necessary for this appeal?            Yes        No
         If yes, is transcript already on file with district court?    Yes        No

      F. List each adverse party to the appeal. If no attorney, give address and telephone number of the
         adverse party. Attach additional page if necessary.

         1. Adverse party_____________________________________________________________
            Attorney_________________________________________________________________
            Address__________________________________________________________________
            Telephone________________________________________________________________

         2. Adverse party_____________________________________________________________
            Attorney_________________________________________________________________
            Address__________________________________________________________________
            Telephone________________________________________________________________

         3. Adverse party_____________________________________________________________
            Attorney_________________________________________________________________
            Address__________________________________________________________________
            Telephone________________________________________________________________

      G. List name(s) and address(es) of appellant(s) who filed this notice of appeal and appellant's
         counsel. Attach additional page if necessary.

         1. Appellant's name___________________________________________________________
            Address__________________________________________________________________
            Telephone________________________________________________________________

             Attorney's name___________________________________________________________
             Firm_____________________________________________________________________
             Address__________________________________________________________________
             Telephone________________________________________________________________

         2. Appellant's name___________________________________________________________
            Address__________________________________________________________________
            Telephone________________________________________________________________

             Attorney's name___________________________________________________________
             Firm_____________________________________________________________________
             Address__________________________________________________________________
             Telephone________________________________________________________________

          Will you be handling the appeal? (In criminal cases counsel below will handle the appeal unless
      relieved by this court.)     Yes          No
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          Fed. R. App. P. 12(b) provides that each attorney who files a notice of appeal must file with the
      clerk of the court of appeals a statement naming each party represented on appeal by that attorney.
      1st Cir. R. 12.0 requires that statement in the form of an appearance.


             Signature______________________________
                       /s/ Alfred C. Frawley IV
             Date__________________________________
                  January 26, 2025
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                                   CERTIFICATE OF SERVICE

      25-1007

            I hereby certify that on this 24th day of January, 2025, I filed the foregoing

      Docketing Statement with the Clerk of the United States Court of Appeals for the

      First Circuit via the CM/ECF system, which will serve notice of this filing to all

      counsel of record via ECF.

                                            /s/      Alfred C. Frawley IV
                                                     Alfred C. Frawley IV
